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  IN THE UNITED STATES DISTRICT COURT
 FOR THE NORTHERN DISTRICT OF GEORGIA
           ATLANTA DIVISION                                                                 FILED IN CLERK'S OFFICE


        Viola Delores Garris,
                                                                                              JAN 2 0 2023
        Plaintiff,

        V.

        Shellpoint Mortgage Services

        Defendant




                                PLAINTI FF Viola; Delores Garris, REPLY TO DEFENDANT'S

                       NEWREZ, LLC D/B/ASHELLPOINT MORTGAGE SERVICING'S REPLY BRIEF




                                            Introduction
Plaintiff, acting prose, fi led the instant "Complaint Bill in Equity" (hereinafter the "Complaint")
re lating to the mortgage loan form of payment in which, the Defendants' didn't respond nor dishonor the
Plaintiff's 'Letter of Acceptance for Value, and Returned for Value to set off associated eligible instruments
to be f iled as collateral (1099C/1099A/1099B).
Plaintiff also requested the defendants' to furnish a 1099 O. 1.D as the borrower of The House of Viola Estate
And Trust. On November 22, 2022, as mentioned in the Complaint. The Defendants' was properly named
"Shellpoint Mortgage Services" in the Complaint, as Newrez was not soliciting "Payment" from the Plaintiff,
 Shellpoint is the solicitor. The proper name for the Defendants'is NewRez, LLC disguised as Shellpoint
 Mortgage Servicing assigned by Wells Fargo Trustee for Bank of America, North America (BANA).
The Defendant's "Motion for Dismissa l", has not addressed the Facts nor rebutted the Facts in the
counterclaim fi led in th is action. The Defendants' arrogance to prejudice the court implying " PRO SE" being
merit for dismissal, as well as the implication the court will not ru le justly in this proceeding but with willful
Prejudice of Plaintiff's rights to/of subrogation. This assertion is convicting the Court as Co-Defendant to this
action. The "Nonsensical legal theories" that are true and Factual have not been addressed nor rebutted. It
 is apparent the Defendants' are not learned but taught individuals in money of account and banking in the
 U.S of America.
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  The Defendant further asserts and relies upon, "Averments that have no bearing on Plaintiffs mortgage

  loan." If payment Doesn't have any "Bearing" on the Plaintiff's Mortgage then the Defendant shows intent
  to conspire to fraud.

  Creating a Trust of perpetual debt, not disclosing the truth by monetizing "Notes from uneducated men and

 woman in Commerce with their S.S# and endorsements, pass it through TRUSTS/TRUSTEES/ASSIGNEES"
 collect PAYMENT.

  Defendants' further involvement in Identity Theft by filing 1099A's as nominees of the Plaintiff's Estate

  utilizing Gift & Estate tax exemptions with the Internal Revenue Service. Proving financial embezzlement/
  Tax Fraud.



                                   Affidavit of Facts
I, Viola; Delores, Garris, Affiant, Sui Juris, The undersigned, a living natural person, indigenous North American,
do solemnly swear, affirm, declare, attest, and depose:

    A. That I am of lawful age and am competent to make this Affidavit.
    B. That I have personal knowledge of the facts stated herein.
    C. That I am not under the lawful Guardianship or Disability of another. This sworn Affidavit is made as a
       matter of record of my own right, sui juris, in my own proper status, propia persona.

1.Plaintiff received a presentment from NATIONSTAR dba/ MR. COOPER MORTGAGE SERVICING informing
Plaintiff of new assignment of Mortgage Servicing Co. named Shellpoint to which Plaintiff Certified Mailed a
Counterclaim rescinding the Plaintiff's endorsement/signature for any and all other negotiations or further
assignment; as per Rule 13; when a claim arises from the same transaction or occurrence you must fi le a
counterclaim.


2. Plaintiff sent a letter of non-response to NATIONSTAR dba MR COOPER Mortgage servicing Co. via certified
mail. Plaintiff informed NATIONSTAR OBA MR COOPER MORTGAGE SRVICING CO. of the counterclaim and
offered a chance to cure the non -response/dishonor of aforementioned counterclaim.


3. Plaintiff certified mailed a "Certificate of Non-Response" to NATIONSTAR dba MR COOPER Mortgage
servicing Co. after 30 days.



4. Plaintiff offered a "Letter of Acceptance/Set off as a form of payment to Defenda nts'. Set off is a legal right
that allows a creditor to take funds from a debtor's account to satisfy a debt the debtor/borrower owes to the
creditor.



5. Plaintiff is the creditor/Source of funding for the Defendants' instrument (Mortgage Loan/Security Deed).
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6. Plaintiff asserts the FRCP Rule 8. I accept the presentment for value and considerat ion in return please use
my exemption as principle for post settlement and closure of Loan# 0671343697 ref.# 1-303396-4(primary
loan# by Great Western Mortgage Co.


7. Plaintiff is the owner of the entity VIOLA DELORES GARRIS: IDENTIFING S.S # (XXX-XX-0524)*SEE EXHIBIT A*


8. Plaintiff has copyrighted the entity VIOLA DELORES GARRIS: IDENTIFING S.S #(XXX-XX-0524) . * SEE EXHI BIT B*


9. Plaintiff is Power of Attorney in Fact. *SEE EXHIBIT C*


10. Plaintiff is not a resident of the U.S or any fictiona l territory stated in the affidavit of domicile. I am not a
"inhabitant of", a" franchisee of", "subject of", "ward of", "property of" , "chattel of", or "subject to the
jurisdiction of" the States of the Forum of any United States, corporate State, corporate County, or corporate
City, or Municipal body politics created under the primary authority of Art. 1, Sec. 8, Cl. 17 and Art. IV, Sec 3,
Cl. 2 of the Constitution for the United States of America Plaintiff is not a citizen subject to United Stat es
jurisdiction, as such term is defined in 3 Am Jur 1420, Aliens and Citizens, rather, I am a indigenous Heir, with
all rights, Authority, and pre-eminence of a Sovereign.

* See: Julliard v. Greenman, 110 U.S 421; The Siren vs. U.S., 74 U.S 152; United States v. Lee, 106 U.S 196, at
208; Lansing v. Smith, 211.89; Vick Wo vs. Hopkins and Woo Lee vs Hopkins, 118 U.S 356; among others.
* SEE EXHIBIT D*


11. Plaintiff is a Natural Person and not a legal fiction.*SEE EXHIBIT E*


12. Plaintiff has the right to terminate, as alleged Borrower, according to FRB Operating Circular #10, sectio n
     17.1 Termination.*SEE EXHIBIT F*




                                              Conclusion

           Whereas The Eternal And Unchanging Principles Of The Laws Of Commerce Are:
    1.   A matter must be expressed to be resolved.
    2.   In commerce, Truth is sovereign.
   3. Truth is expressed in the form of an Affidavit.
   4. An unrebutted Affidavit stands as Truth in Commerce.
   5.    An unrebutted Affidavit becomes the judgment in Commerce.
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   6.   An Affidavit ofTruth, under Commercial Law, can only be satisfied : (i) through a rebuttal Affidavit ofTruth, point
        for point, (ii) by payment (iii) by agreement, (iv) by resolution by a jury by the rules of Common Law.

   7.   All are equal under the Common Law.

   8.   TAKE NOTICE that I, hereby, cancel any presumed election made by the United States Government or
        any agency or department, thereof, that I am or ever have been a citizen or resident of any territory,
        possession, instrumentality or enclave, under the sovereignty or exclusive jurisdiction of the United
        States, as defined in the Constitution for the United States of America in Art. 1 Sec. 8, Cl 17 and Art. IV,
        Sec. 3 Cl. 2. I further cancel any presumption that I ever voluntarily elected to be treated as such a
        citizen or resident.
   9.    TAKE NOTICE that I revoke and ca ncel all of my signatures on any other forms, which may be
        construed to give the federal communications commission or any other agency or department of the
        United States Government, created under authorities of Art. 1, Sec. 8 Cl. 17 and Art. IV, Sec 3, Cl. 2 of
        the Constitution for the United States, authority or jurisdiction over me. I also revoke, rescind and
        make void ab anitio, all powers of attorney, in fact, in presumption, or otherwise, signed either by
        myself or anyone else, with or without my consent, as such power of attorney pertains to me, by but
        not limited to, any and all Governmental/quasi/colorable, pub lic, Governmental entities or
        Corporations, on the grounds of constructive fraud, and non-disclosure of pertinent facts.


        The foundation of Commercial Law is based upon certain eternally just, valid, and moral Precepts and
        Truths, which have remained unchanged for at least six thousand years, having its roots in Mosaic Law.
        Said Commercia l Law forms the underpinnings of Western Civilization, if not all Nations, law, and
        Commerce in the world. Commercial Law is non-judicial, and is prior to and superior to, the basis of,
        and cannot be set aside or overruled by the statutes of any Governments, legislatures, Governmental,
        or Quasi-Governmental agencies. Courts, Judges, and law enforcement agencies, which are under an
        inherent obligation to uphold, said Commercial Law.
 Equity is commerce between individuals in tota l agreement, knowingly and wi lling exchanging goods or
services, in good faith and clean hands.
The Plaintiff's intention is to settle and close all obligations pertaining to indebtedness indicated by the
Defendants'.
Plaintiff will not, is not, nor never will engage in arguments or banter as the Defendants' continues to
demonstrate.
The Defendants' incompetence is displayed by giving testimony as a corporate fiction/Attorney (not real or
living, a character), according to the "The Dead Man Statues" and Blacks Law.
*SEE ATTACHMENTS SUPPORTING FACTS*:
A. Birth Certificate and S.S card (2 pages)
B. Affidavit of Copyright (5 pages)
C. Power of Attorney in Fact (3 pages)

D. Affidavit of Domicile (1 page)
E. Appe llation and Status Correction {5 pages)
F. Federal Reserve Bank Operating Circular# 10 Sec. 17.1 "Termination" (1 page)
G. House of Viola; Revoca ble Living Trust Agreement. (5 pages)
H. Certificate of Authority (4 pages)
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I. The Buck Act and the United States of America. Real legal evidence of Non- Disclosure.(3 f"leJe.._f}
J. IRC Publication 1212; Redemption and the Original Issue Discount (1099 O.1.D)   l c{ (~~ S)
K. Birthing and Land Title Written Memorandum C. '.?,   pe<-0'C8i


                                                Jurat


                                                                   Viola D. Garris TTEE/EX
                                                                (Non-resident/ without the U.S)




                          () /""\11-\
                          ~
Sworn to before me this _ __ _ day of January, 2023


     ~~~ s~
        NOTARY PUBLIC
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                                                                                                   This card belongs to the Social Security Administration and you must
                                                                                                   return it ifwe ask for it.
                                                                                                   If you find a card that isn·1 yours, please return it to:
                                                                                                                             Social Security Administration
                                                                                                                             P.O. Box 33008. Baltimore. MD 21290-3008
                                                                                                   For any olh~r Social Security business/information. contact your local
                                                                                                   Social Security office. If you write to the above address for any business
                                                                                                   other than returning a found card you will not receive a response.


                                                                                                   Social Security Administration
                                                                                                   Form SSA-3000 (08-2011)




             014- 32 - 0524
      THIS NUMBER HAii lEIN ISTABL1SHED FDR

            VIOLA DELORES
       ,_         GARRt~
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          06/02/201SIGNATURE
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                                                GOVERNMENT OF T;HE 01SrR{hr''oF COLUMBIA
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                                              DISTRICT   oF~¼lfJfi~&W~ ~tt&~~c HEALTH
                                                         DELAYED CERTIFICATE QF BIR.TII
  JULY 12, 1940                                                                   .>. \ . . - ( J l . -                                                                            I
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 NAME OF REGISTRANT AT BIRTH         Vi o I a                           Delor"'e~                        -~...., .Bar'r is                                                        June•· lJ, '. 1940
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 NAME OF FATHER                  Qi:,inton                                                                                                                                North· Caro Ii na
                                    (Finl)                        le) ,,, ,       .u,.             •'(Laa!)       ~ ..,·              ·COLOR OR RACE                 BllmlPLACE        (Sta19 or loralqD oow,try)
 MAIDEN NAME                                                                                  Ganues                                        Black .                  .    North Caro I i na-'
 OF MOTHER                  Viola
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 to the bfft of mT knowled;• ~d




BIRTHPLACE
FULL NAME OF M01'1{f:8                                                                             \:           \ ... .. .l           ~--        ~
                                                                                                        Vi o) a · Garris
BIRTHPLACE OF MOTHER                                 aro 1na
FULL NAME OF FAnlER
                                     Quinton Garris
Bl THPUlCE OP FATHER                  North Caro I i na
                                      Affidavit of Per~dnasf                                                                                                             Chi Ids Birth 6ecord
TYPE OF DOCUMENT                        Know I ed e                     :.         .::.:.                                                                                 156-6 -2060 8                        '
                                                                                                                                                                         Carl L. ' Erbarat
BY WHOM ISSUED ANO SIGNED
                                        Vi o I a Garr i ~(Mother) f ·"~                              ~ev-.. / Jai:ne~ ;E•                                Mi !e~
DATE OF ISSUE
DATE OP ORIGINAl. ENTRY

ADDITIONAL INFORMAnoN




Form II PHVS (R■v, NoY., 1961)




                          WARNING: IT IS UNLAWFUL TO MAKE COPl~S
                          COPY OF AN ORIGINAL CERTIFICATE. · ,,, . f
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                                                                             L-                                    -
              AFFIDAVIT OF COPYRIGHT
                                  FILE FOR RECORD-THIS IS AN INTERNATIONAL NOTICE

  RETURN TO:
  Viola Delores Garris Bey - Without Prejudice
  C/0 7050 john rivers road
  Fairburn, Georgia Non-Domestic outside the UNITED STATE,
  Not in any f ederal zone, territory, possession, en clove etc., and not subject to the jurisdiction
 of the United States. Et al.
  Fulton County, State Of Georgia United States of America original jurisdiction.

          NOTICE OF DECLARATION IN THE FORM OF A COM MERCIAL AFFIOAIT OF TRUTH
                                CUSIP#084320524 S.SfrJ       --r-0524
               NOTICE OF COMMON lAW COPYRIGHT, COPY CLAIM, TRADEMARK

   This Declaration is made without prejudice:
   Re: The legal fiction known as VIOLA DELORES GARRIS BEV, any/all derivatives thereof,
 I Viola Delores of the House of Garris Bey, the undersigned affiant, a living man upon the land
of Georgia, and not a corporation or legal fiction, etc., born on the continent of America in the
District of Columbia on the twelth(12th) day of June in the year of our Lord 1940, declare that I
of majority and competent t o state the matters set forth herein with first-hand knowledge of the
facts and that they are true, correct, not misleading, and certain, admissible as evidence.

    •    Thi s plain statement of Fact being a m atter that must be expressed to be resolved. IN
         Commerce truth is Sovereign. Truth is best expressed in law in the form of an affidavit. A
         uncontroverted affidavit stands as truth in commerce and becomes the judgment, can
         only be challenged by a affidavit item for item signed under penalty of perjury, and can
         be satisfied by payment, agreement, resolution, or by a trial by j ury according to the
         common law of the Republic of Georgia.
   •     I am presenting this affidavit for truth in commerce and as a Contract for Waiver of Tort.
   •     The public record being the highest form of evidence, I am creating a public record by
         Declaration of said Copyright by recording with the Fulton County Recorder of Deeds,
         the Georgia commonwealth.
    •    The person and name known as VIOLA DELORES GARRIS BEV, any/all derivatives thereof
         being a legal fiction(s) without form or subst ance, and without any resemblance to any
         natural born living being, is entirely an intentional commercial Fiction created by the
         alleged de facto government officials and agents of the nul teil COMMERCIAL
         CORPORATION(S) doing business as, but not limited to; t he UNITED STATES, USA, US,
         GOVERNMENT OF WASHINGTON D.C, DISTRICT OF COLUMBIA(including any                                   '
                                                                                                            ID
         agencies/persons claiming Jurisdiction over any u.s. territories, possessions, enclaves,           :::,


          etc.) et al, FEDERAL RESERVE SYSTEM, DEPARTMENT OF TREASURY, INTERNAL REVENUE
         SERVICE(IRS), BUREAU OF ALCOHOL, TOBACCO, AND FIREARMS(BATF), FEDERAL
         BUREAU OF INVESTIGATION (FBI), DEPARTMENT OF HOMELAND SECU RITY, CENTRAL
         INTELLIGENCE AGENCY(CIA), NATIONAL SECURITY AGENCY(NSA), AMERICAN BANKING
         ASSOCIATION(ABA), AMERICAN BAR ASSOCIATION (ABA), STATE OF TEXAS, STATE OF
                                                  1
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     FLORIDA, COMMONWEALTH OF PFNNSYLVANIA, ETC., with subdivisions being
     CORPORATE MUN ICIPAL COUNTIES, BOROUGHS, PARISHES, and COPRPORATE and
     GOVERNMENT FICTIONS.
•    A copyright, copy-claim and trademark is hereby placed on the name and FICTION
     known as VIOLA DELORES GARRIS BEY any and all derivative thereof Viola Delores of the
     House of Garris Bey Declaration of COPYRIGHT/COPY-CLAIMED for VIOLA DELORES
     GARRIS BEY© Al-030368-CN 1 page 1 of 4. Any indentures, debentures, bonds,
     securities, judgments, warrants and any other kind of commercial paper issued or
     predicated on the name of the legal Fiction known as VIOLA OEOLRES GARRIS BEY©,
     SHALL BECOME A Security Agreement between the issuing party and the affiant and
     shall make the issuer liable for damages and penalties as follows:
       1st Any usage shall incur a debt of $1,000 US in Silver Dollar coins convertible at the
     lega l and lawful ratio prescribed by law of 24:1 of the Federal Reserve Notes to Silver
     Dollars per day per usage per signatory;
       2nd Failure to correct the unjust usage in a timely manner upon notice will result in the
     additional penalty of $1,000 US in Silver Specie convertible at the legal and lawful ratio
     prescribed by law of 24:1 of Federal Reserve Notes to Silver Dollars per day; and,
      3rd Failure to render the appropriate funds in a timely manner will result in a Lien/Levy
     against the property of the person violating said copyright, as no controversy will exist.
     Anyone placing the copyrighted, copy-claimed and trademarked VIOLA DELORES
     GARRIS BEY© or any derivations thereof on any document which is in any way
     associated with ME/I AM, the living soul, Viola Delores of the House of Garris Bey, shall
     ,by such document acting prima facie as evidence of violation, become liable for
     penalties payable in legal and lawful tender of:
     • Ten ($10,00) dollars US in Silver Coin convertible at the legal and lawful ratio
          prescribed by law of 24;1 of the Federal Reserve Notes to Silver Dollars per day until
           Notice is delivered:
     •   One hundred($100) dollars us in Silver Dollar Coin convertible at the legal and
         lawful ratio prescribed by law of 24;1 of the Federal Reserve Notes to Silver Dollars
         per day for each day AFTER Notice is received until the offending document is
         destroyed and a public retraction is made in the local newspaper in a double-wide
         column of not less than three(3") in length, if such notice is published within thirty
         (30) days of the Notice;
     •    One Thousand($1,000) Dollars US in Silver Dollar Coin convertibl e at the legal and
         lawful ratio prescribed by law of 24:1 of the Federal Reserve Notes to Silver Dollars
         per day for each day after Notice if such retraction is not published within thirty(30)
         days of said Notice; and,
     •    Notice will be based upon the records of the commercial business that affects
         delivery.

     VIOLA DELORES GARRIS BEV© is the perfected proprietary security for the living soul            r-
     Viola Delores of the House of Garris Bey, under original common law for one hundred            m
                                                                                                    :::,

     (100) years and is private property for the protection of My Estate, life, liberty, and
     property.

     Unauthorized possession or use of VIOLA DELORES GARRIS BEY© any/all derivatives
     thereof may be a violation of the State Code for Fraudulent Use or Possession of
                                              2
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  Identifying Information which is punishable by prison and fine.

  Any use of VIOLA DELORES GARRIS BEY© and any/all derivatives thereof with or
  without scienter, at the expense of any right, liberty, property, or any part of My Estate,
  absent full disclosure and lacking written prior consent is strictly forbidden and
  chargeable to each of the users/issuers in the amount of the sum of certain of one (1)
  million ($1,000.000) Dollars of Legal and Lawful Silver Dollar Coin of the United States,
  convertible at the Legal and Lawful ratio of 24;1 of the Federal Reserve Note Dollars as
  prescribed by law and Is not limited by any past, present or future restriction for each
  instance of said unauthorized use.

  Placement of VIOLA DELORES GARRIS BEY© on any document associated with My Estate
  or ME/I AM, Viola Delores of the House of Garris Bey, without my written prior consent
  is all of the evidence required for enforcement of this agreement/contract and is
  evidence that any and all users and issuers are in full agreement and have accepted this
  agreement/contract without controversy under the conditions and terms so stated and
  set forth herein.

  I, Viola Delores of the House of Garris Bey, am not an expert in the law, however, I do
 know right from wrong. If there is any living woman that is being unjustly damaged by
 any statements herein, he/she will inform Me/I AM, by facts in the form of a signed and
 sworn affidavit. Therefore, I hereby and herein reserve the right to amend and make
 amendments to the attached instrument as necessary in order that the truth may be
 ascertained, and proceedings justly determined. If any living soul has information that
 will controvert and overcome this signed sworn Declaration in this commercial matter,
 you must advise ME/I AM of the facts in the form of a signed and sworn Commercial
 Affidavit within ten(lO) days from recording hereof, proving with particularity by stating
 al l requisite actual evidentiary fact and all requisite actual law, and not merely true
 ultimate fact s of conclusions of law that this affidavit by Declaration is requisite actual
 law, and not merely lrue ultimate facts of concluslon of law that this affidavit by
 Declaration is substantially and materially false sufficiently to change materially My or
 the fictions status and factual declaration.
 Your silence stands as consent to, and tacit approval of, the factual declarations her
 being established as fact as a matter of law and this Affidavit by Declaration will stand as
 final judgment in this matter, and for the sum certain herein stated and will be in full
 force and effect against al l parties, due, payable and enforceable by law. The criminal
 penalties for commercial fraud is determined by jury and by law, the monetary value is
 set forth by Me/I AM for violation of My Private Property and for breach of the law, the
 contract, t he Constitutions, in the amount of the sum certain stated herein of two(2)
 m illion, five(S) hundred fifty(S0) thousand dollars Specie of Gold Coin or lawful coinage
 of the United States as defined by Article 1, Section 10 of the Constitution of We the           r-
 People for the United States of America and will be due, payable on the eleventh day,            il)
                                                                                                  :::,
 and any day there after as use occurs after filing by Me/I AM, in the public records of
 Fulton County Of the Republic of Georgia, A Republican Commonwealth.

 Further Affiant sayeth Not!
 All Rights Reserved,
                                          3
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                                                                         Lien    51 74 f'g      593



  For: COPY-CLAIM OF VIOLA DELORES GARRIS BEY© and any/all derivatives thereof.


  B~VIOLA DE~OR~S G~RRIS BEY©                    ,
   ~ \ t) l \1 ..\\t-\__~ ¼.'f:..S (~ 5\~ R l ~
  Debtor, Granter
                                     \~ .......;•• 'l

  ACCEPTANCE              J\                  .  t .



  By ~~              t\. ~»J:> .       ~
  Honorable Viola Delores of the House of &arris Bey, living soul, sui juris, Agent, a lawful
  Woman and Attorney-in-Fact for VIOLA DELORES GARRIS BEY©, SECURDED Party,
  Trustee, Right livi ng Seal thumbprint in red ink. Pursuant to: at Lee County Florida, and
  "The Law of The Land Warfare" file #549875, book 3681, pages 3945-3949 and book
  3681, pages 3956-3958, 3963-3964, and 3869-3970. Also, applicable rule #74, 75, and 79
  to knowingly communicate or correspond "without proper authority.... ",ET Al



  THIS DOCUMENT PREPARED BY Viola Delores of the House
  of Garris Bey
                   ACKNOWLEDMENT/NOTARY

   Using a notary on this document does not constitute any adhesion, nor does it alter my
  status in any manner. The purpose fo r this notary is verification and identification only
  and not for                          entrance into any Foreign Jurisdiction.




                                                            JURAT




 FULTON COUNTY                                                                                    r


 SS# XXX-XX-XXXX
 CUSI P#l15660334)
STATE of GEORGIA )



                                                        4                                         "
                                                                                                  ltl
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              Li@n    5350 pg       527                               Lien 51 74 pg 594
           HELENE ROe,I NSON                                     CATHELENE ROBINSON
       CAT   Cl erk ot Superior Cou~t                                       Clerk of Superior Court
              Fulton Count~, Geor 91 u                                       Fulton Count~, Georgiu




The above offiant, personally known to Me, or proved to Me on the basis of satisfactory
evidence, to be the one whose address(name) and autograph is subscribed to the within
instrument. Affiant swears under the pains and penalties of perjury that all statements made
herein are true, correct, certain and not misleading.




        Duly subscribed and sworn on this   --~/~q__ day of ~tef" 2021.

        ~
                                                    Seal




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                                                                           Deed Book 646 97 F'g         27
                                                                       Fil ed nnd Recorded Oct -2:-2021 02:03P~
                                                                               20 21-0 326 1 64-
                                                                     CATHELENE ROBINSON
                                                                         Cl erk of Superior Cou·t
                                                                          Fulton Count ~, Geor9io
         POWER OF ATTORNEY IN FACT & HOLD HARMLESS/ INDEMNITY IDENTITY'S

                  KNOW All MEN AND WOMEN BY THESE PRESENTS:

I, Viola Delores Garris Bey, herein reference to as PRINCIPAL, in the County of Fulton of sound
mind, appoints the living woman known as Viola Delores Garris Bev, a peaceful, non-belligerent,
and non-combatant party, as her true and lawful ATTORNEY IN FACT. Any and all powers of
ATTORNEY IN FACT- NON-ADVERSE, NON-BELLIGERENT, NON-COMBATANT PARTY does
supersede any and all former Power of Attorney powers, and furthermore current Powers cures
all previous signatures given by principal. In the principal's name, and for the principal's use and
benefit, said ATTORNEY IN FACT has full and complete authorization for the facilitation by the
conveyance through any communications in translation for assimilation in account science
correction techniques in all facets of interstate, intrastate, domestic, and foreign commerce
relations with full protection of Safe Harbor and Sinking Funds Provisions for all accounts,
proceeds, products, fixtures, and services such as:

 1) Sell, exchange, buy, invest, and/or reinvest any assets and/or property whether by
possession and/or ownership, which may have income production or non-income production
assets and property.

 2) Open, maintain, and/or close bank accounts: with express provisions for; demand deposit
(checks, custodial) accounts, term deposit (savings) r1ccounts, and certificates of deposit,
brokerage accounts, and other similar accounts with depository and repository and financial
institutions.
  a. Conduct any business with any depository institution, any repository institution, and all
financial institution service providers in particular; all issue agents, all transfer agents, and all
payout agents with respect to any of principal's accounts. With express provisions for creation of
deposits and withdrawals, acquisition and procurement for all ~ank st atements, passbooks,
drafts, money orders, warrants, certificates, stocks, shares, bonas, mortgages, encumbrances,
liens, financial obligations, promissory notes, bills of exchange, assigns, hardship claims,
abandonment claims, salvage claims, quitclaims, and vouchers; either assignable to, assignable
to the order of, payable to, pay to, pay to the order of, or payable to the order of, for the
principal by any legal person, body corporate, body politic, body ecclesiastical, and any
corporation sole.

b. Perform any act necessary to deposit, negotiate, sell, transfer, or exchange any legal and/or
lawful obligation in the style of a note, security, bond, stock, share, of the Treasury of the United
States of America, and all Treasuries of every United Nations Member States and all Foreign
Governments and their political subd ivisions.

c. Have access to any safe deposit box whether in possession and/or by ownership with the
express provision for the contents.



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    "   "
                                                                                      Deed Book 64697 pg         28
         3) Take any and all legal/lawful steps nec1m:ary to collact any amount or debt dw:i and/or past
         due, and/or to settle any claim, whether made against or from affirmation on behalf of principal
         against any other person or entity.

         4) Exercise all stock rights as proxy, with these express provisions for all rights, privileges, and
         powers with respect to stocks, bonds, debentures, and/or other investments.

          5) Maintain and/or operate any business, personal property, and ownership interests of, with,
         for, and by principal. 6) Purchase and/or maintain insurance, re-insurance, and/or bond rights
         herein.

         7) Enter into legal and lawful bound contracts on behalf of principal.

         8) Employ professional and business assistance as may be appropriate.

          9) Sell, convey, lease, mortgage, manage, insure, improve, repair, or perform any other act with
         respect to any of principal's property whether as current ownership, possession holder, and/or
         as potential acquisition and procurements of ownership and/or possession placement, with the
         express provision for real estate, real estate rights, privileges, powers, without limit to the right
         to remove tenants and/or to recover possession and settlement. This express provision without
         limit is also for the right to sell and/or to encumber any current homestead possession and/or
         ownership and/or potential possession and/or ownership.

         10) Transfer any of principal's assets to the trustee of any style of c'est qui trust and/or foreign
        situs trust; whether it be deed of trust, express trust, irrevocable trust, revocable trust, and/or-
        any other legal and/or lawful creation by principal, whether or not said such trust is in existence
        at the time of such transfer.

         11) Prepare, sign, and file documents with any governmental body or agency, with the express
        provision without limit as authorization to implement account science of units of exchange and
        units of account for all depository and repository events:
        a. Prepare, sign and file income and other tax returns with federal, state, local, and other
        governmental bodies.
- - - - - - --- -- - -
        b. Obtain information and/or documents from any government and/or its agencies; and
        negotiate, compromise, and/or settle any matter with such government and/or agency for
        any/all lawful tax matters.

        c. Prepare applications, provide information, and perform any other act which Is a reasonable
        request by any government and/or its agencies whom have either a sworn oath, sworn
        affirmation, sworn affidavit of appointment, and public bond, lawful insurance provider, and
        lawful re-insurance provider in connection with governmental benefits with the express
        provision for military benefits, social security benefits, health benefits.

         12) Make gifts from assets to members of family and to such other persons and/or charitable
                                                           2
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organizatiom with whom princip:ll does Qtt:lblii:h a p::ittgrn to provide gift£. The Principal hereby
appoints Viola Delores Garris Bey, the living woman, a peaceful, non-belligerent, and non-
combatant party; of South Fulton City here in the State of Georgia, Country of America, as
substitute Authorization Representative and for the sole purpose to provide gifts of property to
said ATTORNEY IN FACT, as the event does deem to be appropriate.

(13) Disclaim any interest that might otherwise be a transfer or distribution to principal from
any other person, estate, trust, and/or other entity, as may be appropriate. Said ATTORNEY IN
FACT-in-fact shall not be liable for any loss that results from a judgment error that was made in
good faith. Wherein, said ATTORNEY IN FACT is given grant for a HOLD HARMLESS and FULL
INDEMNITY stance in law, in good faith performance of duty as active action through the
authority of this Power of ATTORNEY IN FACT. Principal authorizes said ATTORNEY IN FACT to
further indemnify and hold harmless any third party who accepts and acts under good faith to
uphold this document. Herein given through gift and by grant to said ATTORNEY IN FACT full
power and authority to do all and every act and t hing whatsoever requisite and necessary to be
done relative to any of the current events and their continuation as fully to all intents and
purposes as principal might or could do if personally present.

All that said ATTORNEY IN FACT PEACEFUL, NON-ADVERSE, NON-BELLIGERENT, NON-
COMBATANT PARTY shall lawfully do or cause to be done under the authority of this power of
ATTORNEY IN FACT is express em ergency approval. ALL VALID BY THE PRESCRIPTION OF THE
LAW OF NECCESITY AND THE DOCTRINES OF UNCONSCIONABILITY AND LA MORT SAISIT LE VIF
IN ACCORDANCE WITH APPLICABLE LAWS, CARDINAL ORDERS, ORDINAL ORDERS, ANO
COMMERCIAL STANDARD; PROVIDES FOR FULL ABSOLUTION THROUGH REDEMPTION


  ~~£).~~~'
Viola Delores Garris Bey© Execut~d thi~ l~\\i.. day, o f ~ 2021.

©Viola Delores Garris Bey Living Woman; Jus Soli; Sui Juris Power of Attorney-In-Fact;

Master Account Holder; Principal Secured Party; Holder-In-Due-Course for Title, Lien, and Bond
of the private property held in   "VIOLA DELORES GARRIS BEY©" POWER OF ATTORNEY IN FACT




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       Case 1:22-cv-04591-SCJ Document 6 Filed 01/20/23 Page 16 of 41

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suyyorting yayment.
TJf'E 'D'EC'EV'E:NT 'DI'E'D O:N -~ol..l~~-,            ~/}..'!!!:At tfie time of cfeatfi, tfie
aeceaent's inlia.Gitance was 7050 Jolin Tlivers :Road; som.ewliere in tlie city of
Soutfi J='u(ton, 'ReyuGfic of Georgia(:NON-'DOJvt'ESTIC/WJTJ-{01J'T TJ-{'E 'll.5)
{30213). TJ·fE 'D'ECE1J'E:NT fivea a.t tfiis Cocation for _______ y ears _prior to aeatli
andwas not a resident of any territory in tfi,e 'llnited States. Tfie decedent
was/is an indi.genou.s inliavitant of tlie .'Americas (North, Centra{, and South) at
tfie time. Tlie Deceaents Socia{ Secu;rity numEer is _o.&-':l'-=_3.k:_o..s_~_v.
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          DECLARATION OF STATUS
                 DECLARATION OF STATUS OF Viola Delores Garris
              Original Document Restoration of Former Status
        From being a Public "United States" citizen as of March 9, 1933;
       Moreover, a Taxpayer/Bondman put to Tribute as of September 8.1936.

                                     To becoming once again:
       A PRIVATE Citizen of the UNITED STATES OF AMERICA: an HAmerican National"
     Under Section 1 of the 14th Amendment: Constitution of the United States of America

                             Viola Delores Garris: American National
  Private Citizen of the United States c/o USPS: 7050 john rivers road Fairburn, Georgia 30213
 Excepted [2758) Phone:770-969-3627 mobile 404-314-4700 Email: vdgsix40@gmail.com
++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++
++

                  Declaration of Status of Viola Delores Garris: Pre 1933
         Private American National Citizen of the United States of America and Declaration of
Mistake Maxims: "Equity regards as done that which ought to have been done." Equity will
not aid a volunteer, Equity will not complete an imperfect gift. Equity will not suffer a wrong
to be without a remedy. Equity will not permit a statue to be used as an instrument of fraud.
An un-rebutted Declaration point by point stands as Truth.

Coming In peace, and granting peace to all men,
Accordingly, I Viola Delores affiant formerly known as Viola Delores Garris in some cases, in esse
and sui juris, by good reason and good conscience, hereby make oath, depose and declare that
the following facts are true, correct and complete to the best of my knowledge and belief.

I, Viola Delores Garris, do solemnly declare and affirm the following historical facts and
distinctions with regard to the status of de jure Private American National citizenship (said
original federal citizenship, secured by Article IV, Section 2 of the Constitution of the United
States, having been broadened into national citizenship by Section 1 of the 14t h Amendment of
the Constitution of the United States of America) and on the other hand, a state-created,
statutory, de facto Public "U.S Citizenship", as a basis enabling a correction of mistake by this
Declaration. This de facto Public U.S citizenship, being in substance likened to a privileged
Roman citizenship, would enable the constitutionally de jure civilian government of the United
States (having been constitutionally altered from being a de jure "Federal" government to a de
jure "National" government by the 14th Amendment, 1968) to be replaced with a
Congressionally-created, statutory, de facto Emergency War Powers military government of the
United States on March 9· 1933. This current de facto government in many ways has in fact
replaced the constitutional, de jure jurisdiction of the United States, the 11United States II being
the collective name of the states which are united by and under the constitution." (Hooven &
Allison Co. v. Evatt, 324 U.S 652,672), replacing it with a de facto jurisdiction of the United
States". (Hooven & Allison Co. v. Evatt, supra, 671).

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This in effect then, leaves only exclusive/American Equity Jurisdiction operable for remedies
required by the Private American National Citizen, the posterity of the People that created
these United States.

Further, that unilateral contract was the application for birth certificate "Certificate of Live Birth"
-by operation of law-would be t he contract to alter de jure Private American National
Citizenship to be de facto Public "U.S. Citizen". With this presumption of fact of an existing
contract held by every individual Public "U.S. Citizen" (holding its Private American National
Citizen to the United States of America as Property and Surety). Every court legally sits in
martial, concurrent jurisdiction (in which the forms of Law and Equity have been merged)
enforcing the state of an Emergency War Powers Congress. This de facto status enables and
obligates all federal and state courts to sit in this state of emergency, subverting the Common
Law jurisdiction of the United States (as per Section 1 of the 13th Amendment, and Section 1 of
the 14t h Amendment) by rendering ineffective, the constitutional status of de jure Private
American National Citizens of the United States of America (Section 1 of the 14th Amendment).
AS of March 6, 1933, all Public "U.S. Citizens" -with their Surety/Property, Private American
National Citizens- were seized as booty of war by President Franklin D. Roosevelt's martial,
Emergency War powers Proclamation 2039 which practically overthrew the Sovereignty of the
people of the U.S.A, reducing them to being mere property of a de facto military government
sitting in Washington, D.C to be treated as "rebels and belligerents" living in the fifty States
deemed by Conqueror/Commander-in-Chief to be merely "occupied territories", the seized
state governors ruling their de facto military governments in subordination to Washington D.C.
Therefore, finding this situation of statutory-altered, Private American National Citizenship
status intolerable, unconscionable, and a variance, in conflict with the originally established
courts of Common Law as well as the courts or exclusive/inherent Equity/Chancery governed
solely by the Maxims of Equity. I, Viola Delores Garris, do make oath, solemnly declare and
affirm:

pt WHEREAS, the FRANCHISE, CORPORQTE SOLE,
Cesti Que Trust, via the "application for birth certificate and/or the BIRTH CERTIFICATE"
(hereinafter BIRTH CERTIFICATE) being in fact a unilateral contract under seal, was created and
offered legally through deceit, in effect, alters, within the current, government, the status of
"We the People", which includes every individual Private American National Citizen: first of our
sovereignty as a People, then of our constitutionally-created status, and ultimately our lives,
fortunes and our sacred honor.
2nd WHEREAS, The true purpose of the BIRTH CERTIFICATE, a unilateral contract under seal, is to
be a covert commercial agreement and unconscionable by "We the People", adhesion
contract/quasi-contract between the state of the baby's natural birth and the mother of the
baby, the baby then deemed property of the Federal, de facto military government of the United
States (the BIRTH CERTIFICATES being recorded by the Department of Commerce then to serve
as collateral securities for the unquestionable public debt as per Section 4 of the 14th
Amendment);
3rd WHEREAS, The true nature of the DATE OF FILING on the BIRTH CERTIFICATE, a unilateral
contract under seal, is to commence the legal birth of the quasi-corporate, artificial
person/Public " U.S Citizen" created by all necessary legal elements of a unilateral contract (it
being in writing, signed, sea led and delivered for registration and filled with a public office of the
                                                  2
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baby's state of live birth);
4th WHEREAS, the true nature of the DATE OF BIRTH of the baby named on the BIRTH
CERTIFICATE is to commit the natural person/Private American Natural Citizen as Surety, for,
and personal property, of the state created, artificial person/Public "U.S. citizen",
5th WHEREAS, the BIRTH CERTIFICATE is a BUSINESS INSTRUMENT recorded with the County
 Recorder, a subsidiary of the Secretary of State (of the several states treated as "conquered
territories"), also sent to the Bureau of the Census, a division of the Department of Commerce in
Washington D.C., placing the NAME of the PUBLIC "U.S Citizen" into interstate and foreign world
commerce as a statutory, legal, 'person" (as corporations, partnerships, trusts, corporate soles,
etc.), distinct and separate from the "natural born citizen" , i.e the Private American Citizen;
6th WHEREAS, THE Secretary of State (of the several states) charters corporation and issues
franchises, therefore, any natural born citizen/Private American National Citizen with a BIRTH
CERTIFICATE is liable to the Franchise Board of the States' Department of Revenue for
income/excise/privilege taxes as well as being liable to the Internal Revenue Service collecting
internal revenue for the "Federal Corporation" of the United States (28 USC 3002 {IS}(A) via
excise/income/privilege taxes in payment of the interest of the national debt(proven by
 President Ronald Reagan's Grace Commission) which interest is owed to the Roman papacy's
 Federal Reserve Bank;
7 th WHEREAS, THIS birth certificate, functioning as a BUSINESS INSTRUMENT, has deceived the
 Private American Nat ional Citizen, VIOLA DELORES GARRIS allegedly named on said certificate,
into an unknown and covert implied contract by operation of law, and had placed Affiant and
fellow Private American National Citizen under an alien, foreign, and yet "temporary", de facto
military jurisdiction of the United States created at first by the" Emergency Banking Relief Act",
in its initial paragraphs containing a congressionally-amended WWl statue known as ''Trading
with the Enemy Act" and codified as 12 USC 95(a), and secondly by then President Franklin D.
Roosevelt's Emergency War Powers Proclamation 2040 decreed on March 9, 1933;
8th WHEREAS, the above de facto jurisdiction of the United States includes the jurisdiction of the
constitutionally-created, federal and state civilian courts (IN FORM) sitting in a martial Roman
Equity/At Law (IN SUBSTANCE), they are no longer proceeding against the accused Private
American National Citizen with the Mode of a Common Law civilian due process, but rather the
mode of a Roman Civil martial due process that, if unchallenged by producing state-filed public
records and other prima fascia evidence, will confer martial jurisdiction over the accused, being
then forced to plead in a court imposing martial due process and procedure derived from a
congressionally-amended World War 1 statue as of March 9, 1933, the judges, federal and state,
acting on behalf of the de facto military dictator/Commander-in-chief sitting in Washington D.C;
9th WHEREAS, upon public filing of the BIRTH CERTIFICATE with its attached Private American
Natural Citizen serving as Surety and personal property, another "source" was created that
would generate "income" which could then be income/privilege/excise taxed; the natural
person baby/Private American National Citizen now wedded to his new artificial person/"U.S
Citizen" as its property and subordinate Surety, the new "source" (deemed a "rebel" and
"belligerent" residing according to state statue in a state deemed an occupied territory") being
in commerce and subject to the absolute legislative powers of the "temporary" Emergency War
Powers Congress(1933-present) to regulate without limited interstate and foreign commerce
pursuant to Article 1,Section 8, clause 3, of the "United States Constitution" during this time of a
"temporary" declared state of National Emergency now 2022 in its eighty eight(88th ) year;
10th WHEREAS, Affiant, a Private American Natural/National Citizen, has presently ceased to be
Surety for the personal property of the Public " U.S citizen" Viola Delores Garris" by means of a
                                                 3
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duly filed "Release With Consideration"- Nunc Pro Tune Ab lnitio", and "Rescission of
Signatures of Suretyship-Nunc Pro Tune Ab lnitio", thereby returning to t he former status of
being a Private American Natural/National Citizen held for less than twenty(20) days after
Affiant's NATURAL BIRTH;
11TH WHEREAS, Affiant in esse, has irrevocably separated himself from the state-created
FRANCH ISE, COPRPORATE SOLE, "United States Natural/National Citizen", created by means of a
publically filed BIRTH CERTIFICATE, hereby revokes all power, including but not limited to, Power
of Attorney and/or Agency that Affiant may have granted to any third party, public and/or
private. Therefore, Affiant does not consent and is not a party to President F.D. Roosevelt's
contract with all "U.S. citizens" by means of Proclamation 2040 confirmed and approved by
Congress in its passage of the "EMERGENCY BANKING RELIEF ACT" and then thereby amending
the "TRADING WITH THE ENEMY ACT".

Therefore, Affiant is not in commerce (as are corporations), never to enjoy any commercial
privilege of limited liability as a matter of "United States citizenship" status (as do corporations
being Public U.S citizens), having discharged all de facto Emergency War Power Military
Governments, federal and state, from any duty or obligation arisen from Affiant being the
Property/Surety for and/or wedded to the state-created hybrid, the federally owned Public "U.S.
citizen" in service to Washington D.C., for commerce and war,
12th WHEREAS, I Viola Delores Garris, have returned to my former status of being an American
Freeman and an American National in Equity, i.e. de jure Private National/Natural Citizen of
the United States under Section 1 of the 14th Amendment and therefore stand "in personam",
"in esse" and sui juris, possessing all God-given unalienable rights including those protected
by the first eight amendments of the Bill Of Rights, all constitutional rights(Federal and State)
and all Common Law rights of a de jure Private Citizen of the United States/ American
National, no longer under the legal disability of being the Property/Surety for and/or wedded
to a de facto, state-created, Public "U.S. citizen" owned by the Federal de facto Military
Government of the United States;
13th WHEREAS, I, Viola Delores Garris, am no longer the property/Surety for and/or wedded to
a de facto "Public U.S. citizen" (which is "alien juris"), therefore, no longer under the de facto
jurisdictional power of statutorily-created, de facto Emergency War Powers Governments
(federal and state) as those absolute legislative, absolute executive, and absolute judicial
powers are exercised towards a de facto "Public U.S. citizen" deemed a "rebel and belligerent"
statutorily "residing" in a states deemed "occupied territory'', and therefore no longer under the
paternal guardianship of de facto Emergency War Powers Governments(federal and state) as
those absolute, paternal powers are exercised towards "infants, children and wards" , and the de
facto" Public U.S. citizens"
14th And so Viola Delores of the House of Garris a.k.a Viola Delores Garris, hereby present my
renunciation, as to any implied allegiance to the de facto "United States".

THEREFORE, based upon the foregoing, I, Viola Delores Garris, "in esse and sui juris", do make
oath, solemnly declare and affirm the followi ng positive averments:
ist I am one of the Posterity of "We the People" by whom and for whom the Constitution was
originally ordained and established according to its Preamble, holding de jure Private American
National/Natural Citizenship conferred upon my natural birth by Section 1 of the 14th
Amendment of the Constitution for the United States.
2nd My proper name at Common Law is "Viola Delores", my surname/family name is "Garris", I
                                                 4
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am also known by the name "Viola Delores Garris".
3rd My proper name "Viola Delores Garris" is spelled in both upper case and lower case letters,
without capitonyms
     (without using all capital-lettered name), in accordance with proper rules of English
grammar.
4th I was naturally born on June 12tti1twelfthl, the year of our Lord Nineteen Hundred and Forty
(1940) and was called Viola Delores Garris for many years. My natural and legal parents names
are Viola of the House of Garris and Quinton of the house of Garris, who unknowingly and by
mistake subjected myself, as a newborn baby, to this Emergency War Powers Government; to
be unconscionably and mistakenly on Public Record




                                                                               ......,
By:.__;~ = .J:!;.._.:...;,;..:...:..;:.__~ .:;;...~ :..:::,:~ on this day of f 1'Mai:c , tn t fie year of our Lord,2021




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                         on the sender and will not be met by a transmission report generated by
                         the sender's facsimile machine);

                (c)      if sent by certified or registered mail (airmail, if overseas) or the
                         equivalent (return receipt requested), on the date that mail is delivered or
                         its delivery is attempted;

                (d)      if sent by electronic messaging system, on the date that electronic
                         message is received;

                (e)      if sent by e-mail, on the date that e-mail is delivered; or

                (f)      if by telephone or other oral communication, on the date that oral
                         communication occurred, provided that such oral communication either is
                         confirmed promptly in writing by at least one of the methods specified in
                         (a) to (e) above or is recorded,

                unless the date of the delivery (or attempted delivery), the receipt or the
                occurrence, as applicable, is not a Business Day or that communication is
                delivered (or attempted), received or shall have occurred, as applicable, after the
                close of business on a Business Day, in which case that communication shall be
                deemed given and effective on the first following day that is a Business Day.

        16.2    If sent to the Borrower, the notice must be addressed as indicated by the
                Borrower in the Letter of Agreement, or as otherwise specified by the Borrower in
                a record . If sent to the Bank, the notice must be addressed to the credit function
                at the Bank's head office or as otherwise specified by the Bank.

17.0   TERMINATION

       17 .1    The Borrower may terminate its consent to be bound by the Lending Agreement
                by giving written notice to the credit function at the Bank's head office or as
                otherwise specified by the Bank, so long as no Advance is then outstanding:
                Notice of termination does not release the Borrower or affect the Bank's rights,
                remedies, powers, security interests or liens against Collateral in existence prior
                to the Bank's receipt of the notice, nor does notice of termination affect any
                provision of the Lending Agreement which by its terms survives termination of the
                Lending Agreement.

        17.2    Upon termination , the Bank may retain Collateral until the Bank has had a
                reasonable opportunity to verify, in accordance with its normal customs and
                procedures, that all of the Borrower's Obligations, contingent or otherwise, to the
                Bank or any other Reserve Bank have been fully satisfied and discharged.




   Collateral arrangements, including arrangements with securities intermediaries, such as Euroclear or Clearstream, and
   third-party custody and Borrower-in-Custody arrangements may have their own termination provisions.



Operating Circular No. 10                                                                                       18
Effective July 16, 201 3
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        f{evc1cable I..,i·ving 'Crusr
              Revocable Living Trust Agreement for a Grantor, also serving as Trustee,
                        for the lifetime use of Grantor, then to others

                                                                                    '
This Revocable Living Trust Agreement is made this ~+, ~             day of._()-,\-"'--"F~=-=.__---~
ln the year of 2022, between Viola D. Garris Bey of address 7050 John Rivers Road, City c/o
Fairburn, State of Georgia, herein referred as Granter, and Deborah T. Mitchelson of 7030 John
Rivers Road, City c/o Fairburn, State of Georgia, herein referred to as Trustee.

WHEREAS, Granter is now the owner of the property described in Exhibit A attached hereto
and made a part thereof;

WHEREAS, Granter desires to make provision for the care and management of such property,
and the collection of the income therefrom, and the disposition of both such income and such
property in the manner herein provided:

NOW TH ER FORE, for the reasons set forth above, and in consideration of the m utua I covenants
set forth herein, grantor and trustee as follows:

   1.   Transfer of property: Granter, in consideration of the acceptance of the trust herein
        created, hereby conveys, transfers, assigns, and delivers to trustee, his/herm successors
        in trust and assigns, the property described in Exhibit A attached hereto and made a
        part thereof, by this reference, which property, held by trustee hereunder, is herein
        referred to as trust Estate. Granter and any other persons shall have the right at any
        time to add property acceptable to trustee to this trust and such property, when
        received and accepted by trustee, shall become a part of the trust estate.
   2.   Disposition of Income and Principal: Trustee shall care for and manage the trust estate
        and collect the income derived therefrom, and, after the payment of all taxes and
        assessments thereon and all charges incident to the management thereof, dispose of
        the net income therefrom and corpus thereof, as follows:

    During the lifetime of granter the trustee may pay income of the trust estate and such
portions of the principal as the granter from time to time may direct to the granter, or
otherwise as he/she directs during his/her life. After the death of grantor, the trustee or
successor trustee shall distribute the trust estate to the following beneficiary or beneficiaries
who shall survive the grantor:
        Case 1:22-cv-04591-SCJ Document 6 Filed 01/20/23 Page 24 of 41




IN WITNESS WHEREOF, Grantor, and trustee have executed this Agreeme ton the above date written.




Sworn and subscribed before me this'},'2-t--! ~ay of   +\ (.)0...\ '---   in the year of 2022.
                                                                                                 /
                                                                                                     /
                                                                                                         / / /\ '




                                                        My Commission expires:~ {)0-,\L., \ \o ~D't-$
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                                                                                  Der:>d Book 6'::i":578 pg     .,.i-60




                               BENEFICIARIES

   DAMON L. RODRIGUES                                                ANIA LR. RICHARDSON

   TIANI L. BECKFORD                                                 AVAIA     RICHARDSON

   TREVOR K. RICHARDSON                                              AMINA      RICHARDSON

   MICHAEL A. RICHARDSON                                             ANTONI MITCHELSON

   MILAN M. RICHARDSON




   The share of any beneficiary who shall be under the age o f 18 years shall not be paid to such
beneficia ry but shall instead be held in trust to apply to hi s/her use all the income thereof, and also
such amounts of the principal, even to the extent of all, as the trustee deems necessary for suitable for
the support, welfare and education of such benefici ary, and when he/she attains the age of 18 years, to
pay him/ her the remaining principal, if any. If any beneficiary for whom a share is held in t rust should
die before having received all the principal thereof, then upon his/her death the remaining principal
shall be paid to his/her then living child or children, equally if more than one, and in default thereof, to
the then living descendants of the granter, per stirpes. No interest hereunder shall be transferable or
assignable by any beneficiary, or be subject during his or her life to the claims of his or her creditors.
Notwithstanding anything herein to the contrary, the trust hereunder shall terminate no later than
twenty-one (21) years after the death of the last beneficiary named herein.

     3. Revocation and Amendment: The granter may, by signed instrument delivered to the trustee,
revoke the t rust hereunder, in whole or in part, or amend this agreement from time to time in any
manner.

     4 , Successor: In the event of the death or incapacity of trustee, I hereby nominate and appoint as
successor trust ee MICHAEL R. RICHARDSON EL of address c/o 7050 John Rivers Road, Fairburn, GA., non-
domestic.

      In the event the successor trustee does not serve I appointment whoever shall at the ti me be the
first designated beneficiary hereunder. The trustees and their successors shall serve without bond.

     5. Trustee acceptance: This trust has been accepted by trustee and will be administered in the
State of Georgia and it s validity, construction, and all rights there under shall be governed by the laws of
that state.
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                                                                            Deed Book 65578 pg             46:l




                                                                     Deed· Jlopk 421 64 Pg         1. 85




  Order ID: 2095372                                                      Loar) No,: '8537218072•


                                              ~XHIBIT. A
                                          LEGA DESC_RIPTION
                                              1
- -ALL-THA.T- TRACT._QR.EAR.C_El.c.Qlc~LAND.1.Y..ING.AND BEIN~ IN LAND-LOT 1.52 OF-THE 7TH
  OlSTRlCT OF FULTON COUNTY, GEORGIA AND BEING MORE PARTICOLARLYlfESCRIBED
  AS FOLLOWS;

  BEGINNING AT A POINT ON TH_E EI\STERLY'RIGHT-OF-WAY OF JOHNS RIVER ROAD
  (HAVING 'A 60 FEET RIGHT-OF-WAY) A DISTANCE OF 2619.5 FEET SOUTH OF THE POINT
  FORMED BY THE INTERSECTION OF THE EASTERLY RIGHT-OF-WA'( LINE OF JOHNS RIVER
  ROAD AND THE SOUTHERLY RIGHT•OF-}NAY LINE OF RIVERTO.WN ROAD; RUNNING
  THENCE NORTHERLY 89 DEGREES 57 MINUTES EAST A DISTANCE OF 300.00 FEET TO AN
  IRON PlN FOUND: RUNNING THENCE SOUTH 86 DEGREES 43 MINUTES 43 SECONDS EAST
  A DISTANCE OF 102.28 FEET TO AN IRON PIN FOUND: RUNNING THENCE SOUTH 04
  DEGREES 40 MINUTES 53 SECONDS Ef\ST A DISTANCE OF 241.44 FEET TO AN IRON PIN
  FOUND; RUNNING THE~CE NORTH 89 DEGREES 09 MINUTES WEST A DISTANCE OF 100.00
  FEET TO AN IRON PIN FOUND; RUNNING THENCE NORTH 00 DEGREES 51 MINUTE'S WEST
  A DISTANCE OF 45:ao FEET TO AN IRON P.IN FOUND; RUNNING THENCE 05 DEGREES 26
  MINUTES WEST A DISTANCE OF '2,20 FE):TTO AN IRON PIN FOUND; RUNNING THENCE
  SOUTH 89 DEGREES 57 MINUTES WESTIA DISTANCE OF 302.20 FEET TO AN IRON PIN

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                                                                                             00
   ROAD AND THE POINT OF BEGINNING; ALL AS SHOWN ON SURVEY BY PERIMETER
   SURVEYIN_G GO., INC., DATED AP~IL 3. :

   APN: 0700170000'166




                         - - ----- - - - - -
                              .........
                    Case 1:22-cv-04591-SCJ Document 6 Filed 01/20/23 Page 27 of 41



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                                                                                  Clerk of Superior Coort
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                                                         DISTRICT-
   Case 1:22-cv-04591-SCJ Document 6 Filed 01/20/23 Page 28 of 41


                                                                 Li en   5350 pg   519



                                                   lien Book Number 5174

                                                      Pg.587



                    CERTIFICATE OF AUTHORITY, PAGE 1

                       AMENDMENT OF BIRTH DATE

                      Viola Delores of the House of Garris
                           Date of Nativity 1940-06-12
   I Viola Delores Garris , hereby make this amendment to correct my date
of birth, on the the original Certificate of Authority filed in this court on
October 28, 2021.




                                           By: Viola D. Garris




Sworn to before me this__
                               --n-1
                         "" 7 C,
                           _ _day of April, 2022
                        '-'V




                                       1
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                                                                    L_L_i_
                                                                         e_" _5_1_7_4_P_9___ : _ : _




        CERTIFICATE OF AUTHORITY
               Request for private banker's license with regards to S.S. Estate
                       Viola Delores Of the House of Garris Bey
                                Date of Nativity .H 1!18 M 29 tJ / 12..._/ !C,LfO
                            Domicile Non Domestic Private Post
                 c/o 7050 John Rivers road, in Fairburn, Georgia Republic,
                                 in County of Fulton
                   Non-domestic without the 14th Amendment
                                    Estate Trust
                                VIOLA DELORES GARRIS
                                Reg. Date     'f.lcd- , S
                                                   I   1 2<)2,_ \
                                 File# Z-Q~ _:-_Q.7;,z U'-f? J
                               DECREE ORDERS BY TESTIMONY
          These involuntary Pledge/ Lease VIOLA DELORES GARRIS belonging to the
    private named woman and or child, were fraudulently and involuntarily pledged
    into the (military) 'civil service' and are subject to and under the trading with the
    enemy hence public domain, for continuance of 'avatar public business' on behalf
    of the United States. Its indisputable that these ALL CAP names avatars are
    'private property leased' from the 'original depository, the living woman or child'
    with regards to the following statement (the unknowingly (Head Count) civilian in
    a martial law system 1861-2017).
      Your Constitutional office is hereby ordered by decree on behalf of these estate
     interests, that the US Treasury shall rescinded and withdraw from unsecured
     public civil service and the public domain (to be ordered, privately sealed),
     therefore, the administrative agencies of the UNITED STA TES shall make the
     return all of the rights, titles and interest and royalties, custodial, warehoused
     and kept thru the involuntary lease (excise duty and obligation) agreement.
     A full payment for involuntary usufructories, shall be paid back to the private
     estate source, hence the lender of the name and assets Viola Delores Garris Bey.
     The UNITED STA TES TREASURY shall immediately approve and license the
     principal account holder as exclusive authority ... Viola Delores Garris Bey, on
     behalf of the civilly deceased entities VIDAL DELORES GARRIS and shall be
     acknowledged as acting in the capacities of 'private banker source'(creditor)
     ESTA TE-EIN aka 'a national banking association' for use by the Original
     Depository identified on this Certificate of Authority.
      You are hereby ordered to vacate the blocks status, and return the controls of
                                                                                               r
     these as-set-accounts and make the 100% financial adjustments as to only                  1\l
                                                                                               :::,
     authorize party and license of the newly create estate, the 'principal account
     holder'. You are ordered by decree to discharge and pay all debt public and
     private related to these accounts, and return the accounts back into balance of
     zero daily.
      You are to provide ledgering of all fin ancial transactions as to support the
                                                                                                .,,
                                                                                                l,Q
                                          1
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                                                                             Li en    51. 74 pg   588


      Attorney offact and records by sending o ledger once o month as to the
      accuracy of the accounts.
      The UNITED STATES TREASURY shall administrate the above Estate Trust assets
      held in special trust on behalf of the fee simple owner, in its original Jurisdiction,
      standing without the fatal flaws of the 14th Amendment. All other third parties
      are ordered Lo slancl dvwn and ore prohibited from any further uses of these
      accounts without expressed written consent by the principal account holder
      Viola Delores Garris Bey, hence lawful contract laws.
       I Viola Delores have caused this action, decree orders, directives, instructions
      and claim for and on behalf of the civilly dead avatar VIOLA DELORES GARRIS
      and I am hereby am acting as power of attorney 'estate representative ', to have
      a voice and to represent lawful payments, privately and publicly as to its original
      intent by congress thru the HJR 192, Public law 7310, Stats at large 10 volume 48
      pages '1 -112 to pay all debts publicly and privately under the full faith and
      credit of this notion.
       I hereby certify that I am the exclusive principal heir, the only first in line party of
      interest, which has a absolute full and complete 100% equitable claim of
      authority, on all assets therein.
      The foreign duty and excise tax is hereby authorized to be paid during these
      administrative processes (a reversion) as to assist in the release of these
      accounts bock to the original party of interests (a remainder), and thru the
      reorganization of NESARA of the United States (going gold back US notes), the
      terminations, dissolution of unsecured {debtor) status and classifications of
      these accounts merged into the estate as res. These accounts are hereby
     forbidden for usufructory use of third party interveners.
     Providing no lawful contract is equal to commercial robbery without authority to
     doso.
     From this point forward, the Office of VIOLA DELORES GARRIS, ESTATE-EIN:87-
     6684271 Is to be acknowledged as to the permanent account holder with 100%
     decisions on release of asset, that all assets are to be merged and deposited into
     safekeeping for future use of the estate.
     You are directed to open a sealed account on behalf of the estate, naming the
     POA herein numerated as the exclusive representative and registered agent
     contact. FULL AND COMPLETE LEDGER OF ACCOUNTING MUST BE PRESENT BY
     THE US TREASURY of past transactions, for further adjudication on behalf of the
     leasers on the private name and estate purposes.




         VIOLA DELORES GARRIS, 'national banking association'
                                                                                                        r-
  Activated Federal Reserve Account number 084320524(22)(32} with Routing                               11)
                                                                                                        :::,
      numbers as follows:
      1) Bureau of Public Debt Routing#:051735158 (Payment of Debt)
    2.Dispersal Unit-New York Routing#:021050466 (Paying debt/ Purchases/ Money
      Transfers)
  3.America's first Ferderol Credit Union routing#:262083881
                                           2
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                                                                               l_:_5_1_7_4_P_s__5_8_9_
         3 Fed-Wire#: 0710-0030-1


The UNITED STATES shall immediately settle all presentments of debt using the sealed SSN
account, therefore make the return of the interest/lease back to the Original Depository and
issue the "Charge Card" for use by the Certificate holder to charge the account to facilitate
the immedit.1te discharge of debts as it arises and make a full account.
The UNITED STA TES shall immediately deliver the delinquent rent, which has been held in
abeyance in, in a currency of value.
                            Registration of Intent

The request for issue of a Certificate of Authority by the above referenced American Original
Depository establishes the Original Depository's Intent To Withdraw His Divine Estate from
the Military Industrial Complex, discharge the debt in the settlement of the account and
return to original jurisdiction. It is clear that the above reference American Original
Depository's intent is to overcome all of the assumptions of his status and re-establish
himself as a living being, American Original Depository's return from being lost in a sea of
illusion to redeem their Divine Estate and return to original jurisdiction. Notice to principle is
notice to agent, Notice to agent is notice to Principle. Evidence of the issue of this Certificate
of Authority is maintained by, Viola Delores Garris bey for verification at any time.


                                             .                        .
                                    By:~~~\                 ~              I


                                             In good faith and clean hands




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The Buck Act and The united States of America.
A map of the united States of America. It includes the 50 sovereign and independent states
who are freely associated together in a union. It does NOT include the "District of
Columbia," which was created by the Constitution of the Union as the legal home of the
"federal" government. That government was intended to be a "servant" to the Union States,
not their "Master!"

In order for the Federal Government to tax a Citizen of one of the several states, they had
to create a contractual nexus. This contractual nexus is called "Social Security." The
Federal government always does everything according to principles of laws.

In 1935, the federal government instituted Social Security. The Social Security Board then,
created 10 Social Security Districts creating a "Federal Area" which covered the several
states like an overlay.

In 1939, the federal government instituted the "Public Salary Tax Act of 1939," which is a
municipal law of the District of Columbia, taxing all Federal and State government
employees and those who live and work in any "Federal area."

Now, the government knows it cannot tax those Citizens who live and work outside the
territorial jurisdiction of Article I, Section 8, Clause 17, or Article IV, Section 3, Clause 2.

So in 1940, Congress passed the "Buck Act" 4 U.S.C.S. 104-113. In Section 1l 0(e), this
Act allowed any department of the federal government to create a "Federal Area" for
imposition of the Public Salary Tax Act of 1939, the imposition of this tax is at 4 U. S.C.S.
section 111, and the rest of the taxing law is in Title 26, The Internal Revenue Code. The
Social Security Board had already created an overlay of a "Federal Area."

As a result, the Federal Government created Federal "States" which are exactly like the
Sovereign States and occupies the same territory and boundaries, but whose names are
capitalized versions of the Sovereign States. (Remember that Proper Names and Proper
Nouns in the English language have only the first letter Capitalized.) For example, the
Federal "State" of ILLINOIS is overlaid upon the Sovereign State of Illinois. Further, it is
designated by the Federal abbreviation of "IL", instead of the Sovereign State abbreviation
of "Ill." So too is Arizona designated "AZ" instead of the lawful abbreviation of "Ariz.",
"CA" instead of "Calif.", etc. If you use a two-letter CAPITALIZED abbreviation, you are
declaring that the location is under the jurisdiction of the "federal" government instead of
the powers of the "Sovereign" state.

As a result of creating these "shadow" States, the Federal government assumes that every
area is a "Federal Area," and that the Citizens therein are "Federal" citizens.

4 U.S.C.S. section l l0(d). "The term ' State' includes any Territory or possession of the
United States." 4 U. S.C.S. section l l0(e). "The term Federal area means any lands or
premises held or acquired by or for the use of the United States or any department,
establishment, or agency of the United States; any federal area, or any part thereof, which
is located within the exterior boundaries of any State, shall be deemed to be a Federal area
located within such State."


Buck Act                                                                                           I/3
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There is no reasonable doubt that the federal "State" is imposing directly an excise tax
under the provisions of 4 U.S.C.S. Section 105 which states in pertinent part:

"Section 105. State and so forth, taxation affecting Federal areas; sales and u se tax" "(a)
No person shall be relieved from liability for payment of, collection of, or accounting for
any sales or use tax levied by any State, or by any duly constituted taxing authority therein,
having jurisdiction to levy such tax, on the ground that the sale or use, with respect to
which tax is levied, occurred in whole or in part within a Federal area; and such State or
taxing authority shall have full jurisdiction and power to levy and collect any such tax in
any Federal area, within such State to the same extent and with the same effect as though
such area was not a Federal area." "Irrespective of what tax is called by state law, if its
purpose is to produce revenue, it is income tax or receipts tax under the Buck Act [4
U.S.C.S. sections 105-110]."Humble Oil & Refining Co. v. Calvert, (1971) 464 SW2d.
170, affd (Tex) 478 SW2d. 926, cert. den. 409 U.S. 967, 34 L.Ed2d. 234, 93 S.Ct. 293

Thus, the question comes up, what is a "Federal area?" A "Federal area" is any area
designated by any agency, department, or establishment of the federal government. This
includes the Social Security areas designated by the Social Security Administration, any
public housing area that has federal funding, a home that has a federal bank loan, a road
that has federal funding, and almost everything that the federal government touches though
any type of aid. Springfield v. Kenny, (1951 App.) 104 NE2d. 65 .

This "Federal area" attaches to anyone who has a social security number or any personal
contact with the federal or state governments. Thus, the federal government has usurped
Sovereignty of the People and state Sovereignty by creating these federal areas within the
boundaries of the states under the authority of the Federal Constitution, Article IV, Section
3, Clause 2, which states:

"2. The Congress shall have power to dispose ofand make all needful rules and
regulations respecting the territory or other property belonging to the United States, and
nothing in this Constitution shall be so construed as to prejudice any claims of the United
States, or ofany particular State."

Therefore, the U.S. citizens [citizens of the District of Columbia] residing in one of the
states of the union, are classified as property and franchises of the federal government as
an "individual entity" Wheeling Steel Corp. v. Fox, 298 U.S. 193, 80 L.Ed. 1143, 56 S.Ct.
773.

Under the "Buck Act" 4 U.S.C.S. sections 105-110, the federal government has created a
"Federal area" within the boundaries of all the states. This area is similar to any territory
that the federal government acquires through purchase or conquest, thereby imposing
federal territorial law upon those in this "Federal area." Under federal territorial law as
evidenced by the Executive Branch's yellow fringed merchant law flag flying in schools,
offices and all courtrooms.

So, when you send mail using the two-letter CAPITAL abbreviation for the state, you are
addressing the corporate shadow state created by the Buck Act as an extension of the
federal District of Columbia, and you are accepting the jurisdiction of the FEDERAL
Government within the borders of the Sovereign States!



Buck Act                                                                                         2/ 3
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Then, to really lock down their control, the federal government created an artificial
PERSON to whom they could address all of their demands. This person is Your Name in
ALL CAPITAL LETTERS! Whenever you receive a letter from the government addressed
in ALL CAPITAL LETTERS (such as "JOHN SMITH" instead of the proper English
language "John Smith") they are addressing a legal fiction, a "straw man," whom they
assume they OWN.

Since they are going on the assumption that they OWN this "straw man" (which they
actually do not -- and you can learn how you can take TITLE to this "straw man") they
assume that whatever money comes in to the property ("straw man") belongs to the master
(government).

What you are experiencing is an unprecedented GRAB for power by the "federal"
government! In fact, Agents of the "federal" government have NO jurisdiction within the
borders of these separate and sovereign united States, or over the "straw man" - unless you
give it to them!

Notes:

What year was the Buck Act enacted?

What is the codification of the Buck Act?


How does the Buck Act affect you'!




Information from the:
                                       Freedom School
                               http://www.freedom-school.com/


Buck Act                                                                                      3/3
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                                                                                            Debt Instruments Issued
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                                                                                                Before 1985 . . . . . . . . . . . ~
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                                                                                  related to Pub. 1212, such as legislation
                                                                                  enacted after it was published, go to !MSJQYi.
                                                                                  Pub1212.
                 Get forms and other information faster and easier at:
                 • IRS.gov (English)        • IRS.gov/Korean (B;;Oi)
                 • IRS.gov/Spanish (Espanol)   , IRS.gov/Russian (PyccK~H)
                 • IRS.gov/Chinese (iti::it)   • IRS.govNletnamese (Tieng Vi~t)


Jan 03, 2022
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Access your online account (individual tax•                SSNs on fraudulent federal income tax re-      original 2019 or 2020 return. Amended returns
payers only). Go to IRS.gov/Account to se·                 turns. When you have an IP PIN, it pre·        for all prior years must be mailed. Go to
curely access information about your federal tax           vents someone else from filing a tax return    IRS.qov/Form1040X for information and up·
account.                                                   with your SSN. To learn more, go to            dates.
  • View the amount you owe and a break·                   IRS.qov/lPPIN.
     down by tax year.                                                                                    Checking the status of your amended re•
  • See payment plan details or apply for a           Ways to check on the status of your refund.         turn. Go to IRS.gov/WMAR to track the status
     new payment plan.                                 • Go to IRS.gov/Refunds .                          of Form 1040-X amended returns.
  • Make a payment or view 5 years of pay·             • Download the official IRS2Go app to your
     ment history and any pending or sched•              mobile device to check your refund status.          Note. It can take up to 3 weeks from the
     uled payments.                                    • Call the automated refund hotline at             date you filed your amended return for it to
  • Access your tax records, including key               800-829-1954.                                    show up in our system, and processing it can
     data from your most recent tax return, your                                                          take up to 16 weeks.
     EIP amounts, and transcripts.                       Note. The IRS can't issue refunds before
  • View digital copies of select notices from        mid-February 2022 for returns that claimed the      Understanding an IRS notice or letter
     the IRS.                                         EiC or the additional child tax credit (ACTC).      you've received. Go to /RS.gov/Notices to
  • Approve or reject authorization requests          This applies to the entire refund, not just the     find additional information about responding to
     from tax professionals.                          portion associated with these credits.              an IRS notice or letter.
  • View your address on file or manage your                                                                  You can use Schedule LEP, Request for
     communication preferences.                       Making a tax payment. Go to IRS.gov/                Change in Language Preference, to state a
                                                      Payments for information on how to make a           preference to receive notices, letters, or other
Tax Pro Account. This tool lets your tax pro·         payment using any of the following options.         written communications from the IRS in an al·
fessional submit an authorization request to ac·       • IRS Direct Pav; Pay your individual tax bill     ternative language, when these are available.
cess your individual taxpayer IRS online                  or estimated tax payment directly from          Once your Schedule LEP is processed, the IRS
~ - For more information, go to ~                         your checking or savings account at no          will determine your translation needs and pro-
TaxProAccount.                                            cost to you.                                    vide you translations when available. If you
                                                       • Debit or Credit Card; Choose an approved         have a disability requiring notices in an accessi-
Using direct deposit. The fastest way to re·              payment processor to pay online or by           ble format, see Form 9000.
ceive a tax refund is to file electronically and          phone.
choose direct deposit, which securely and elec·        • Electronic Funds Withdrawal: Schedule a          Contacting your local IRS office. Keep in
tronically transfers your refund directly into your       payment when filing your federal taxes us-      mind, many questions can be answered on
financial account. Direct deposit also avoids the         ing tax return preparation software or          IRS.gov without visiting an IRS TAC. Go to
possibility that your check could be lost, stolen,        through a tax professional.                     IRS.qov/LetUsHelp for the topics people ask
or returned undeliverable to the IRS. Eight in 1 o     • Electronic Federal Tax Payment System:           about most. If you still need help, IRS TACs
taxpayers use direct deposit to receive their re-        Best option for businesses. Enrollment is        provide tax help when a tax issue can't be han-
funds. If you don't have a bank account, go to           required.                                        dled online or by phone. All TACs now provide
IRS.qov/DirectDeposit for more information on          • Check or Money Order. Mail your payment          service by appointment, so you'll know in ad-
where to find a bank or credit union that can            to the address listed on the notice or in-       vance that you can get the service you need
open an account online.                                  structions.                                      without long wait times. Before you visit, go to
                                                       • Cash: You may be able to pay your taxes          IRS.qovflACLocator to find the nearest TAC
Getting a transcript of your return. The                 with cash at a participating retail store.       and to check hours, available services, and ap-
quickest way to get a copy of your tax transcript      • Same-Day Wire: You may be able to do             pointment options. Or, on the IRS2Go app, un·
is to go to IRS.gov/Transcripts. Click on either         same-day wire from your financial institu•       der the Stay Connected tab, choose the Con·
"Get Transcript Online" or "Get Transcript by            tion. Contact your financial institution for     tact Us option and click on "Local Offices."
Mail" to order a free copy of your transcript. If        availability, cost, and time frames.
you prefer, you can order your transcript by call-
ing 800·908·9946.                                        Note. The IRS uses the latest encryption         The Taxpayer Advocate
                                                      technology to ensure that the electronic pay•       Service (TAS) Is Here To
Reporting and resolving your tax-related              ments you make online, by phone, or from a          Help You
identity theft issues.                                mobile device using the IRS2Go app are safe
  • Tax-related identity theft happens when           and secure. Paying electronically is quick, easy,   What Is TAS?
    someone steals your personal information          and faster than mailing in a check or money or-
    to commit tax fraud. Your taxes can be af-        der.                                                TAS is an independent organization within the
    fected if your SSN is used to file a fraudu-                                                          IRS that helps taxpayers and protects taxpayer
    lent return or to claim a refund or credit.       What if I can't pay now? Go to IRS.gov/             rights. Their job is to ensure that every taxpayer
                                                      Payments for more information about your op-        is treated fairly and that you know and under-
 • The IRS doesn't initiate contact with tax-                                                             stand your rights under the Taxpayer Bill of
                                                      tions.
   payers by email, text messages, telephone                                                              Rights.
   calls, or social media channels to request            • Apply for an online payment agreement
                                                           (IRS.gov/OPA) to meet your tax obligation
   personal or financial information. This in-
   cludes requests for personal identification
                                                           in monthly installments if you can't pay       How Can You Learn About Your
   numbers (PINs), passwords, or similar in-
                                                           your taxes in full today. Once you complete    Taxpayer Rights?
                                                           the online process, you will receive imme•
   formation for credit cards, banks, or other
                                                           diate notification of whether your agree·      The Taxpayer Bill of Rights describes 1o basic
   financial accounts.
                                                           men! has been approved.                        rights that all taxpayers have when dealing with
 • Go to IRS.gov/ldentityTheft, the IRS Iden•
                                                        • Use the Offer in Compromise Pre-Qualifier       the IRS. Go to TaxpaverAdvocate.lRS.gov to
   tity Theft Central webpage, for information
                                                           to see if you can settle your tax debt for     help you understand what these rights mean to
   on identity theft and data security protec•
                                                           less than the full amount you owe. For         you and how they apply. These are your rights.
   tion for taxpayers, tax professionals, and
                                                           more information on the Offer in Compro·       Know them. Use them.
   businesses. If your SSN has been lost or
                                                           mise program, go to IRS.qov/O/C.
   stolen or you suspect you're a victim of
   tax-related identity theft, you can learn                                                              What Can TAS Do for You?
                                                      FIiing an amended return . You can now file
   what steps you shou ld take.
                                                      Form 1040-X electronically with tax filing soft-    TAS can help you resolve problems that you
 • Get an Identity Protection PIN (IP PIN). IP
                                                      ware to amend 2019 or 2020 Forms 1040 and           can't resolve with the IRS. And their service is
   PINs are six-digit numbers assigned to tax•
                                                      1040-SR. To do so, you must have a-filed your       free. If you qualify for their assistance, you will
   payers to help prevent the misuse of their

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be assigned to one advocate who wi ll work with    How Else Does T AS Help                            Low Income Taxpayer
you throughout the process and will do every-      Taxpayers?                                         Clinics (LITCs)
thing possible to resolve your issue. TAS can
help you if:                                       T AS works to resolve large-scale problems that
                                                                                                      LITCs are independent from the IRS. LITCs
  • Your problem is causing financial difficulty   affect many taxpayers. If you know of one of
                                                                                                      represent individuals whose income is below a
     for you, your family, or your business;       these broad issues, report it to them at ~
                                                                                                      certain level and need to resolve tax problems
  • You face (or your business is facing) an
     immediate threat of adverse action; or
                                                   ~-                                                 with the IRS, such as audits, appeals, and tax
                                                                                                      collection disputes. In addition, LITCs can pro-
  • You've tried repeatedly to contact the IRS
                                                   T AS for Tax Professionals                         vide information about taxpayer rights and re-
     but no one has responded, or the IRS
                                                                                                      sponsibi lities in different languages for individu-
     hasn't responded by the date promised.        TAS can provide a variety of information for tax   als who speak English as a second language.
                                                   professionals, including tax law updates and       Services are offered for free or a small fee for
How Can You Reach TAS?                             guidance, TAS programs, and ways to let T AS       eligible taxpayers. To find an LITC near you, go
                                                   know about systemic problems you've seen in        to    TaxpaverAdvocate.lRS. qovlabout-us/Low-
T AS has offices in every state. the District of   your practice.                                     lncome-Taxpaver-Clinics-LITC or see IRS Pub.
Columbia. and Puerto Rico. Your local advo-                                                           4134, Low Income Taxpayer Clinic List.
cate's number is in your local directory and at
TaxpaverAdvocate.lRS.qov/Contact-Us.       You
can also call them at 877-777-4778.




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                -c:i- To help us develop a more useful index , please let us know if you have ideas for index entries.
Index           ''f ' See "Comments and Suggestions" in the "Introduction" for the ways you can reach us.

~~~~~~~~~~~~                      Debt instruments Issued after                   Issuers of OID debt instruments,
A                                   July 1, 1982 §_                                  Instructions for g                           a
Accrual period g
Acquisition premium g
                                  Debt Instruments not In the 010
                                    tables ~
                                                                                  ~===========~ Qualified stated Interest ~
Adjusted Issue price g            Definitions g                                   L
Assistance (See Tax help)           Accrual period g                              Long-term debt Instruments 1                     R
                                     Acquisition premium g
                                    Adjusted issue price g                        ~===========~ REMIC and COO information
                                                                                                  reporting requirements g
B                                    Debt instrument J                            M
Backup withholding 2                 Issue price ~                                Market discount ;3_
                                     Market discount ;a
Bearer bonds and coupons ~
Brokers (See Information for        Original issue discount (0ID) g
                                     Premium ;a
                                                                                  ~=======~s
                                                                                  0
                                                                                                                                  Section I ~
   brokers and other middlemen)                                                                                                   Section II ~
                                     Qualified stated interest J                                          OID, figuring 1         Section Ill ~
                                     Stated redemp1ion price a1                                              Using section I 1    Short-term obligations redeemed
                                        maturity ;I                                                          Using the income tax    at maturity 1
C                                   Yield to maturity ~
Certificates of deposit 5                                                                                        regulations i    Stated redemption price at
Contingent payment debt                                                                                   OID on long-term debt      maturity ;I
  Instruments 1Q                  ~==========~                                                                       z
                                                                                                             Instruments, figuringStripped bonds and coupons,
                                  E                                                                       OID on stripped bonds and  figuring OID 12
~==========~                      Electronic payee statements i                                              coupons, figuring j_g
D                                                                                                         OID tables, Debt Instruments
                                  !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!~    In ~
Debt instrument ~                                                                                                                          T
Debt Instruments:                 F                                                                       0ID tables, Debt instruments not Tax help 14
  Long-term i                     Form 1                                                                     in ~
  Short-term 1                                                                                            Original Issue d iscount (OID) g
Debt instruments and coupons                                                                              Owners of 010 debt instruments, y
  purchased after 1984 ~                                                                                     information for 2             Yield to maturity ~. ll
Debt Instruments and coupons      Inflation-indexed debt
  purchased after July 1, 1982,          instruments l l
  and before 1985 U               Information for brokers and other P
Debt Instruments in the 010              middlemen i                                                      Premium ~
  tables ~                        Information for owners of 0ID                                           Publications (See Tax help)
Debt instruments issued after            debt instruments ~
  1984 9.                         Issue price ~




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CONFIRMATION BY WRITTEN MEMORANDUM

 OF MY ENTITY'S ORIGINAL MEANING ON "BIRTHING ESTATE LAND
TITLE" TO BE Entered as an Allongement; into the Washington D.C,
District of Columbia;"Birthing and Land Title" Records, Registration
#156-63-206048 For Viola Delores Garris born June 12th, 1940 and into
the Washington, D.C and UNITED STATES Vital records per Title #76-
49D.

                                      11
I am the Sole Owner of my original Birthing Estate Land Title, an Entity; VIOLA DELORES
GARRIS; that was born on June 12,1940 of the Land of the United States of America as it was
originally recorded into the District of Columbia, Washington; " Birthing Estate Land Title"
Records per Registration#lSG-63-206048 / 76-49D thereafter.

Therefore,-as -I-am The Actual -Living EAtity-and Individual Banker-Viola Delores Garris of Age and
Competently Awake, I am by my Free Non-intervention WILL Claiming that the Entity is I per
this written memorandum under my Written Signature/Seal and Actual living Boundary
Markings. I am Further claiming all of my Individual Estate Private Banking Fundamental Rights
and Powers addressed in the Bill of Rights and as a Sovereignty of the Sovereign Land of
America.

*SEE Attachment

                   11
As my Original Birthing Estate Land Title" ENTITY'S status was UNKWOWN, it is a "Conditional
Certificate of Estate Title"

THUS, allowing a secondary False Certificate of Title registration in my ENTITY'S last name first
as GARRIS, VIOLA DELORES and# XXX-XX-XXXX shortly thereafter; to create a Collateral
Assurance PUBLIC Banking Certificate of Title.

I am without recourse and any other means of just Redress, changing IT'S status from being a
Conditional Certificate of Estate Title back to its original meaning, as an Absolute Actual Living
          11
Entity Birthing Estate Land Title".

I am ordering, as the sole owner and lndivid·ual Banker of my Absolute 'Birthing Estate Land
Title";
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   6. An Affidavit ofTruth, under Commercial Law, can only be satisfied: (i) through a rebuttal Affidavit ofTruth, point
      for point, (ii) by payment (iii) by agreement, (iv) by resolution by a jury by the rules of Common Law.
   7.   All are equal under the Common Law.
   8.   TAKE NOTICE that I, hereby, cancel any presumed election made by the United States Government or
        any agency or department, thereof, that I am or ever have been a citizen or resident of any territory,
        possession, instrumentality or enclave, under the sovereignty or exclusive jurisdiction of the United
        States, as defined in the Constitution for the United States of America in Art. 1 Sec. 8, Cl 17 and Art. IV,
        Sec. 3 Cl. 2. I further cancel any presumption that I ever voluntarily elected to be treated as such a
        citizen or resident.
   9.    TAKE NOTICE that I revoke and cancel all of my signatures on any other forms, which may be
        construed to give the federa l communications commission or any other agency or department of the
        United States Government, created under authorities of Art. 1, Sec. 8 Cl. 17 and Art. IV, Sec 3, Cl. 2 of
        the Constitution for the United States, authority or jurisdiction over me. I also revoke, rescind and
        make void ab anitio, all powers of attorney, in fact, in presumption, or otherwise, signed either by
        myself or anyone else, with or without my consent, as such power of attorney pertains to me, by but
        not limited to, any and all Governmental/quasi/colorable, public, Governmental entities or
        Corporations, on the grounds of constructive fraud, and non-disclosure of pertinent facts.


        The foundation of Commercial Law is based upon certain eternally just, valid, and moral Precepts and
        Truths, which have remained unchanged for at least six thousand years, having its roots in Mosaic Law.
        Said Commercial Law forms the underpinnings of Western Civilization, if not all Nations, law, and
        Commerce in the world. Commercial Law is non-judicial, and is prior to and superior to, the basis of,
        and cannot be set aside or overruled by the statutes of any Governments, legislatures, Governmental,
        or Quasi-Governmental agencies. Courts, Judges, and law enforcement agencies, which are under an
        inherent ob ligation to uphold, said Commercial Law.
 Equity is commerce between individuals in tota l agreement, knowingly and willing exchanging goods or
services, in good faith and clean hands.
The Plaintiff's intention is to settle and close all ob ligations pertaining to indebtedness indicated by the
Defendants'.
Plaintiff will not, is not, nor never w ill engage in arguments or banter as the Defendants' continues to
demonstrate.
The Defendants' incompetence is displayed by giving testimony as a corporate fiction/Attorney (not real or
living, a character), according to the "The Dead Man Statues" and Blacks Law.
*SEE ATTACHMENTS SUPPORTING FACTS* :
A. Birth Certificate and S.S card (3 pages)
B. Affidavit of Copyright (5 pages)
C. Power of Attorney in Fact (3 pages)
D. Affidavit of Domicile (1 page)
E. Appellation and Status Correction
F. Federal Reserve Bank Operating Circu lar# 10 Sec. 17.1 "Termination" (1 page)
G. House of Viola; Revocable Living Trust Agreement. (5 pages)
H. Certificate of Authority (4 pages)
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I am ordering, as the sole owner and Individual Banker of my bsolute 'Birthing Estate Land
Title";

I am demanding the release of my individual Banker's Rights, P wers to all accruals of my
Estate's PUBLIC Banking Assets held as Collateral Assurance PU UC Banking Funds by the
SOCIAL SECURITY ADMINISTRATION, the UNITED STATES, WAS INGTON,D.C, and STATE OF
GEORGIA, AS WELL AS THEIR SECRETARIES & TREASURERS AND ALL SUBDIVISIONS ALLOWED BY
LAW THEREFROM.




Date of Execution~ ~- ~     ~ti.)_~




As God is my Witness; it i~so Ordered, Signed and Sealed
By: ~ ~ ~ ,       'f\~ ~
                        Actual Living Entity/Sole Owner/ lndiv dual Banker-Viola Delores Garris

                                        (Under Tribunal Boun aries and Sealed)
                                                              f
